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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


UNITED STATES OF AMERICA,

v.                                            Case No. 8:24-cr-51-WFJ-AAS

DEVIN ALAN RHODEN
_____________________________/

            SENTENCING MEMORANDUM IN SUPPORT OF A
                 NON-INCARCERATION SENTENCE

      COMES NOW, the Defendant, DEVIN ALAN RHODEN, through

undersigned counsel and pursuant to U.S.S.G. §§ 5K1.1, 5H1.1, 5H1.11, 5K2.20,

and 18 U.S.C. § 3553(a), files this Sentencing Memorandum moving this Court to

grant the government’s “substantial assistance” motion and to impose a low-end

non-incarceration sentence of probation. As grounds in support, Mr. Rhoden states:

                  FACTUAL AND PROCEDURAL HISTORY

      Devin Alan Rhoden is a 25-year-old nonviolent first-time offender and

member of the United States Air Force who committed an aberrant offense involving

a “rug pull” non-fungible token (NFT) investment scheme with his long-term online

friend, Berman Jerry Newman, Jr. Mr. Rhoden’s offense conduct was limited in

duration (March 2022 – May 2022), was committed without significant planning,

and represented a marked deviation from an otherwise law-abiding life. Mr. Rhoden

and Mr. Nowlin’s offense conduct, which occurred when they were young adults


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(ages 18 and 22), caused a loss to investors of $130,843.71, with Mr. Rhoden

receiving about one-half of the proceeds ($65,421.85).

                History and Characteristics of Devin Alan Rhoden

      Devin Alan Rhoden was born on May 9, 1999, in Clearwater, Florida to

Rebecca Ann Rhoden (age 51) and a father he has never met. PSR ¶70.1 Devin was

raised in a single parent household where his mother financially struggled. Id.

Devin’s childhood was plagued with poverty, paternal abandonment, maternal

substance abuse, and domestic violence. Devin’s mother, a massage therapist, did

her best to support Devin and his younger maternal half-brother Christopher. PSR

¶¶ 70-72. But because of his mother’s dire financial situation, as a child Devin and

his brother were relegated to “terrible neighborhoods” where they often witnessed

drugs, prostitution, and acts of violence. PSR ¶70. Given his mother’s meager

income, the family had to rely on government assistance programs like food stamps

and Section 8 housing to meet their most basic needs. Id.

      When Devin was 6, his mother’s relationship with her boyfriend Robert Kline,

resulted in the birth of his brother Christopher. PSR ¶75. Robert Kline was a violent

and abusive man who often physically and emotionally abused Devin’s mother in

the presence of her children. Id. Following Mr. Kline’s imprisonment, the



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        Mr. Rhoden’s 59-year-old mother is disabled with restricted mobility and a
history of abusing opioid-based pain medications. PSR ¶71.

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relationship ended but the abuses continued as Devin’s mother consistently

gravitated to equally abusive boyfriends who infected Devin’s childhood home with

domestic violence Id.

       Devin recalls his mother’s last boyfriend, Sean, being exceedingly violent

toward both his mother and him. PSR ¶75. As described by Devin, Sean would

violently punch holes in the walls and would repeatedly engage Devin in fist fights.

Id. To escape this physical abuse, at 17, Devin moved out of his mother’s home to

live with his maternal grandmother. PSR ¶¶73, 75. As described by Devin, his

mother was “emotionally and physically” unavailable for him and his younger

brother, forcing him to undertake the role of second parent for his younger brother.

PSR ¶72.

      Despite having a childhood without a father, in a crime-infested

neighborhood, filled with physical and emotional abuse, Devin was well behaved

and avoided the negative trappings of drug use, gang activity, disciplinary issues at

school, and repeated contacts with the juvenile justice system. PSR ¶¶63, 86-87, 90.

Devin excelled in elementary and middle school, making the middle school honor

role, participating in middle school football, and playing the drums and trumpet in

the school band. PSR ¶90.

      Not until high school did the abuse at home cause Devin’s grades to drop; he

eventually graduated from Palm Harbor University High School with a 2.5 GPA. Id.


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As a result of childhood trauma, Devin now suffers from ADHD, depression, and

anxiety with daily symptoms of anxiousness, overthinking, and stress. PSR ¶83.2

      Following high school graduation, Devin enlisted in the United States Air

Force. PSR ¶99. The Air Force provided Devin a haven from the poverty and abuse

that had plagued his childhood. Id. In the military, for the first time in his life, Devin

found stability with a steady income, and a means to lift himself out of the poverty-

stricken existence he had experienced as a child. Id. While in the Air Force, Devin

furthered his education by obtaining an associate degree in information technology,

by obtaining an educational certificate as a cyber intrusion analyst, and by

completing college course work in artificial intelligence and machine learning. PSR

¶¶91-94. Today, only because of the opportunities the military provided him, Devin

is on track to receiving his bachelor’s degree in software engineering. Id.

      During his four years of military service (since July 2019), Devin has served

his country honorably and without incident, reaching the rank of E-4 and earning a

military salary of $5,400 per month. Id. Before his federal arrest, Devin’s military

duties included working as a Cyber Readiness Call Technician at MacDill Air Force

Base (April 2022 – June 2024). Id. Devin held the rank of Staff Sergeant Select

(which he lost following his federal arrest) and served under the command of the 6th


      2
        Today, Mr. Rhoden’s mental health conditions are managed through daily
prescriptions for Ritalin (27 milligrams), Fluoxetine (20 milligrams), Bupropion
(150 milligrams), and Hydroxyzine (10 milligrams as needed). PSR ¶83.

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Communications Squadron at MacDill. Id. His duty title was Analyst, Mission

Defense wherein his primary duties involved providing network services, cyber

security, cyber vulnerability mitigation, analog configuration, threat assessment, and

management. PSR ¶99.

      While in the military Devin’s superiors found that he exceeded expectations

in all areas of performance including job proficiency, followship/leadership, and

whole airmen concept. Id. Over the past four years Devin has achieved several

accomplishments during his military service including being selected as a AFWERX

working group cyber subject expert. Id. Additionally, during his four years of

service, Devin has received a Letter of Appreciation from Colonel John Kelly

(March 10, 2020); the Air Force Achievement Medal for Meritorious Service (May

19, 2021); and the Air Force Achievement Medal for Outstanding Achievement

(January 25, 2022). PSR ¶¶100-101. While in the military, Devin’s character was

well respected, and he was entrusted with several high-level security clearances.

       As described by Devin’s uncle David Rhoden, it had always been Devin’s

lifelong dream to serve in the military and to work in cybersecurity for the United

States Air Force. PSR ¶74. Since his federal arrest and conviction, Mr. Rhoden’s

uncle observed that Devin is devastated and disappointed in himself that his reckless

criminal NFT conduct has cost him his military career and his ability to work in his

chosen field. Id. As noted by his uncle, Devin has always been very “conscientious”


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and “hard working” which makes his offense conduct out of character. Id.

        On top of excelling academically and professionally in the Air Force, Devin

has excelled in his personal life, having married his soulmate Katherine four years

ago. PSR ¶77. Katherine is enrolled in college full-time as she pursues a nursing

degree, which she is on track to obtain in May 2025. PSR ¶77. At 25, Devin has no

prior criminal history and has lived an otherwise law-abiding life, having served his

country honorably for the last 4 years. PSR ¶¶63-68. Because of his federal arrest

and conviction, Devin’s military career will end unceremoniously when he is

discharged from the military immediately following sentencing by this Court. PSR

¶104.

        While Devin has otherwise lived a law-abiding life, it is his out of character

and limited in duration NFT offense conduct, which occurred over a two-month

period in 2022, that brings him before this Court as a first-time young adult

nonviolent offender.

               Facts and Circumstances Surrounding Mr. Rhoden’s
                      Aberrant Nonviolent Offense Conduct

        Having presided over the trial of Mr. Rhoden’s codefendant Berman Jerry

Nowlin, Jr., which included Mr. Rhoden’s testimony as a material witness for the

government, this Court is aware of the facts and circumstances surrounding Mr.

Rhoden’s and Mr. Nowlin’s nonviolent offense conduct. Those facts have also been

captured in Mr. Rhoden’s Presentence Investigation Report (see PSR ¶¶21-44) and

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so will not be repeated here.

      That said, for purposes of sentencing, it should be highlighted that Mr. Rhoden

and Mr. Nowlin were young men (22 and 18) at the time of their offense conduct;

the offense was limited in duration over a two-month period from March 2022 to

May 2022; their NFT offense conduct occurred after successfully and lawfully

minting two other NFT projects; and their joint offense conduct resulted in a

relatively low loss amount of $130,834.71, which was shared equally between Mr.

Rhoden and Mr. Nowlin.

      Because of Mr. Rhoden and his childhood friend’s unlawful conduct, on

January 8, 2024, Mr. Rhoden was arrested on a criminal complaint charging him

with money laundering and making false statements to a federal agent. Doc. 1. Upon

appointment of counsel, Mr. Rhoden was released under the supervision of pretrial

services and immediately began to cooperate with the government. Docs. 6, 9.

      Mr. Rhoden’s cooperative efforts contributed to the return of a February 6,

2024, federal indictment charging him and his childhood online friend, Berman Jerry

Nowlin Jr., with conspiracy to commit wire fraud and money laundering, in violation

of 18 U.S.C. § 371. PSR ¶¶1-2.

      On May 24, 2024, pursuant to a written plea agreement containing a

cooperation and low-end recommendation provision, Mr. Rhoden entered a guilty

plea to the single-count indictment. PSR ¶¶4, 7, 9. On July 11, 2024, this Court


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accepted Mr. Rhoden’s guilty plea and adjudicated him guilty. PSR ¶11. In contrast,

Mr. Rhoden’s childhood friend and codefendant proceeded to trial, and following

Mr. Rhoden’s testimony for the government, was convicted as charged. Docs. 72,

76.

      Mr. Rhoden’s sentencing hearing is scheduled for Wednesday, November 20,

2024, at 10:00 a.m. Doc. 52.

                        GUIDELINES CALCULATION

      The Presentence Investigation Report has correctly determined Mr. Rhoden’s

total offense level to be 13. PSR ¶¶55-62. With no prior convictions, Mr. Rhoden

has zero criminal history points and is a Criminal History Category I offender. PSR

¶65. With a Criminal History Category I and total offense level 13, Mr. Rhoden’s

advisory guideline imprisonment range is 12 to 18 months. PSR ¶108.3

      On November 12, 2024, the government filed, pursuant to U.S.S.G. § 5K1.1,

a “substantial assistance” motion seeking a 5-level downward departure. Doc. 79. If

granted by this Court, a 5-level downward departure would place Mr. Rhoden’s

advisory sentencing range within Zone A making him eligible for a low-end sentence

of probation. Mr. Rhoden is seeking a low-end sentence of probation between one


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        Mr. Rhoden’s advisory range is within Zone C of the Sentencing Table,
making him eligible for a low-end sentence of 6 months in custody followed by a
term of supervised released that has as a special condition he serve six months of
home detention. PSR ¶109.


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and five years. PSR ¶113.

          REQUEST FOR A NON-INCARCERATION SENTENCE

      Given the mitigating history and characteristics of Mr. Rhoden, his

cooperative efforts, as well as the facts and circumstances of the nonviolent nature

of his offense, a non-incarceration sentence (1-5 years of probation), will be

“sufficient but not greater than necessary” to accomplish the purposes of sentencing

enumerated under 18 U.S.C. § 3553(a).

      Mr. Rhoden is a 25-year-old nonviolent first-time offender who experienced

a difficult and tragic childhood where he suffered paternal abandonment, poverty,

domestic violence, physical abuse, maternal neglect, and was raised in

neighborhoods plagued with crime, drugs, substance abuse, and violence. Despite

these difficult childhood circumstances, Mr. Rhoden avoided the negative trappings

of his drug and crime infested neighborhood with no prior juvenile or adult criminal

justice systems adjudications.

      Other than a two-month period when he was 22 years old, Mr. Rhoden has

lived an otherwise law-abiding life having graduated from high school, obtained his

associates degree, and served honorably in the United States Air Force where his

performance has exceeded all expectations of his superior officers. 4 His offense was



      4
       See U.S.S.G. § 5H1.11, which provides for a downward departure based on
a defendant’s military service, “if the military service, individually or in combination

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 limited (60 days), did not involve significant planning, and was aberrational.5

 Together with the aberrational nature of his offense, it also occurred when Mr.

 Rhoden was a 22 years old young adult which is a well-documented time when

 young individuals are generally more impulsive, risk-seeking, and more susceptible

 to outside influences as their brains continue to develop into young adulthood.6

       Despite the aberrant nature of Mr. Rhoden’s nonviolent offense conduct and

 the mitigating nature of his young age at the time of his offense, it cannot be disputed

 that his unlawful conduct of engaging in an NFT “rug pull” scheme, which caused a

 loss to victim NFT investors of $130,834,71, is a significant offense warranting



 with other offender characteristics, is present to an unusual degree and distinguishes
 the case from the typical case covered by the guidelines.”
       5
          See U.S.S.G. § 5K2.20, which provides for an “aberrant behavior”
 downward departure where a defendant commits a single criminal occurrence or
 single criminal transaction that (1) was committed without significant planning; (2)
 was limited in duration; and (3) represents a marketed deviation by the defendant
 from an otherwise law-abiding life. In determining whether a court should depart the
 court may consider the defendant’s (A) mental and emotional conditions; (B)
 employment record; (C) record of prior good works; (D) motivation for committing
 the offense; and (E) efforts to mitigate the effects of the offense.
       6
         See U.S.S.G. § 5H1.1, which provides for a downward departure due to a
 defendant’s youthfulness at the time of the offense. As noted by the Sentencing
 Commission, “Certain risks factors may affect a youthful individual’s development
 into the mid-20’s and contribute to involvement in the criminal justice systems,
 including environment, adverse childhood experiences, substance use, lack of
 educational opportunities, and familial relationships. In addition, youthful
 individuals generally are more impulsive, risk-seeking, and susceptible to outside
 influences as their brains continue to develop into young adulthood. Youthful
 offenders are amenable to rehabilitation.”

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 punishment.

       At the same time, given Mr. Rhoden’s status as a first-time offender who lived

 a law-abiding life for the 22 years before his offense conduct during which he

 honorably served his county, a term of imprisonment of any length is greater than

 necessary to accomplish the 18 U.S.C. § 3553(a) purposes of sentencing. Becoming

 a convicted felon will adversely affect Mr. Rhoden for the rest of his life including

 the loss of his military career and future military-related benefits. This coupled with

 serving a lengthy term of community supervision, being ordered to pay restitution,

 and subjecting him to a $130,000 money forfeiture judgement will be a significant

 and life-changing penalty for Mr. Rhoden.

       Since his offense conduct, Mr. Rhoden has taken significant rehabilitative

 steps by cooperating with the government, returning to living an otherwise law-

 abiding life, and entering a timely guilty plea. Since his offense conduct, which

 ended over two years ago, Mr. Rhoden has maintained lawful employment with the

 Air Force and has supported his wife as she attends college full time pursuing a

 career in nursing.

        Under these circumstances, it is respectfully suggested that a term of

 imprisonment or even home detention is unnecessary to address the seriousness of

 Mr. Rhoden’s aberrant criminal behavior, to deter him from future criminal conduct,

 or to generally deter others. A term of community supervision will reasonably


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 protect the public. Mr. Rhoden’s pre- and post-offense conduct illustrates that he is

 at a very low risk to reoffend, and a community supervision sentence will effectively

 deter him from future criminal conduct.

       Mr. Rhoden is a bright, respectful young man who did well in school despite

 his difficult childhood and has worked hard to excel during his military career. His

 offense was aberrational and driven by youthful impulsive risk-taking behavior. As

 observed by the Sentencing Commission:

       The age-crime curve, one of the most consistent findings in
       criminology, demonstrates that criminal behavior tends to decrease
       with age. Age-appropriate interventions and other protective factors
       may promote desistance from crime. Accordingly, in an appropriate
       case, the court may consider whether a punishment other than
       imprisonment might be sufficient to meet the purposes of sentencing.

 U.S.S.G. § 5H1.1.

       Because of youthful indiscretion and impulsivity Mr. Rhoden lost his

 moral compass, but only briefly. His risk-taking indiscretion has cost him a

 promising military career as well as any future career in his chosen profession

 of cyber security. Mr. Rhoden deeply regrets his isolated criminal behavior,

 and he has attempted to mitigate his wrongs through his cooperative efforts.

 He intends to pay back the victims of his offense conduct and with a

 community-based sentence, Mr. Rhoden will do just that; he never again

 intends to stray from the values the military has instilled in him.




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       WHEREFORE, the Defendant, DEVIN ALAN RHODEN, respectfully

 moves this Honorable Court to grant the government’s 5-level “substantial

 assistance” motion and to impose a low-end non-incarceration sentence of probation

 between 1-5 years.

       DATED this 14th day of November 2024.

                                             Respectfully submitted,

                                             FITZGERALD HALL, Esq.
                                             FEDERAL DEFENDER

                                             /s/ Adam B. Allen
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of November 2024, a true copy

 of the foregoing was filed with the Clerk of the Court using the CM/ECF system,

 which will send a notice of the electronic filing to Assistant United States Attorney

 Charlton Gammons.

                                               /s/ Adam B. Allen
                                               Adam B. Allen, Esq.
                                               Assistant Federal Defender




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